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ROLLETA EBROLE RIAZON

UNITED STATES DISTRICT COURT CENTRAL DISTRICT 9f CALIFORNIA
UNITED STATES OF AMERICA DOCKET NO. C cusnn, us. DISTRICT COURT
Vv.

 

 

 

 

 

S PPR ; A 7
MAGISTRATE'S CASE NO. a, ‘ _-

 

 

 

 

Shield from Detection Illegal Aliens).

Complaint for violation of Title 8, Section 1324 (a) (1) (A) (v)(D, (Conspiracy to Bring, Transport, Harbor, Concel and

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NAME OF MAGISTRATE JUDGE

HON. CARLA M. WOEHRLE

UNITED STATES LOCATION

MAGISTRATE JUDGE
Los Angeles, CA

 

 

DATE OF OFFENSE PLACE OF OFFENSE

From Unknown date to on or

about April 3, 2008. Los Angeles County

 

ADDRESS OF ACCUSED (IF KNOWN)

 

 

States Code, Segtjon®¥&24(a)q1)(A)(iii).

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COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

Beginning on a date unknown, and continuing until on or about April 3, 2008, in Los Angeles County,
within the Central District of California and elsewhere, defendant ROLLETA EBROLE RIAZON, and others
known and unknown, conspired and agreed with each other to commit the following offenses against the United
States, knowing and in reckless disregard of the fact that aliens had come to, entered and remained in the United
States in violation of law: (1) to bring said aliens to the United States, in violation of Title 8, United States Code,
Section 1324(a)(1)(AQ@); (2) to transport and move said aliens, in violation of Title 8, United States Code, Section
1324(a)(1)(A)GER ang ZB) to ¢ onceal, harbor, and shield from detection said aliens, in violation of Title 8, United

 

 

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BASISOF CONBLATSRNTIS CHARGE AGAINST THE ACCUSED:
(See attached affidavitiiwh ich aré incorporated as part of this Complaint)
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sb
“AG am toh
MATERIAL WITNESSES’ INZRELATIOM TO THIS CHARGE:

 

Being duly sworn, I declare that the
foregoing is true and correct to the
best of my knowledge.

Dur OF COMPLAINANT ~

eT

 

OFFICIAL TITLE

 

SPECIAL AGENT TRICIA WHITEHILL, FBI

 

Sworn to before me and subscribed in my presence,

 

 

SIGMATURE OF MAGISTRATE JUDGE (1) (O04
5 \Y\ .

DATE

April 4, 2008

 

 

 

1) See Federal Rules of Criminal Procedure rules 3 and 54.

CAK Cptre : Detention
.Case 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 2 of 37 Page ID #:40

AFFIDAVIT
I, Tricia Whitehill, being duly sworn, hereby depose and say:
1. I am a Special Agent ("SA") with the Federal Bureau of

Investigation ("FBI"). I have been employed as a SA with the FBI
since November of 2005. Currently, I am assigned to the Los
Angeles Field Office, Civil Rights Squad. In that capacity, I am
responsible for investigating the human trafficking of people
into the United States. The statements set forth in this
affidavit are based upon my experience, training, consultation
with experienced investigators and agents and other reliable
sources of information relevant to this investigation.

PURPOSE OF AFFIDAVIT

 

2. x make this affidavit based on personal knowledge
derived from my participation in this investigation and from oral
and written reports about this and other investigations that I
have received from other federal agents and law enforcement
agencies.

3. This affidavit is made in support of a criminal
complaint and finding of probable cause for ROLLETA EBROLE RIAZON
(“RIAZON”) for conspiring to bring, transport, and harbor,
conceal, and shield from detection illegal aliens in violation of
8 U.S.C. § 1324 (a) (1) (A) (v) (1).

4. Because this affidavit is being submitted for the
limited purpose of supporting an application for a criminal

complaint, I have not set forth each and every fact learned
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 3 of 37 Page ID #:41

during the course of this investigation. Facts not set forth
herein are not being relied upon in reaching my conclusion that
the complaint and warrants should be issued.

FACTS SUPPORTING PROBABLE CAUSE

5. On April 3, 2008, members of the FBI and Immigration
and customs Enforcement (“ICE”) executed an arrest warrant for
Rudolfo Ebrole Demafeliz, Jr. (“Demafeliz”) at Los Angeles
International Airport (“LAX”) as he was enroute to board a plane
scheduled to leave for Manila, the Philippines, that same day.
The arrest warrant was issued pursuant to a criminal complaint in
United States v. Evelyn Pelayo and Rudolfo Ebrole Demafeliz, Jr.,
No. 08-0816M (C.D. Cal.), which was signed and issued by the Hon.
Carla M. Woehrle, United States Magistrate Judge. The criminal
complaint and affidavit in support thereof, which charges those
defendants with violating 8 U.S.C. § 1324 (a) (1) (A) (iii) (Alien
Harboring), is attached hereto as Exhibit A and is incorporated
by reference fully herein.

6. As is set forth in greater detail in Exhibit A,
Demafeliz assists in smuggling aliens from the Philippines into
the United States in violation of law. He does so by having the
smuggled aliens pose as Tae Kwon Do competitors in order to
unlawfully obtain U.S. tourist visas. Thereafter, the smuggled
aliens come to the United States and remain in violation of law.

7. When Demafeliz was arrested at LAX, he was with RIAZON
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 4 of 37 Page ID #:42

and two additional Philippine nationals. After being informed of
the identity of the interviewing Agents and the purpose of the
interview, RIAZON provided the following information:

a. RIAZON is a Philippine citizen, who has traveled
to the United States twelve times since October 2004 to compete
in Taekwondo tournaments.

b. RIAZON has participated in Tae Kwon Do since 1995
when she was in high school. RIAZON started the sport because
her cousin, Rodolfo DEMAFELIZ, was an instructor. RIAZON now
holds a black belt in the sport and has worked as a full time
instructor in the Philippines since 2002.

c. RIAZON is employed at Demafeliz’s Taekwando
school. RIAZON is paid with free room and board and provided a
monthly allowance of 5000.00 Filipino pesos. Depending on the
number of students enrolled in the school, RIAZON may be paid an
extra amount per month.

d. In her role working for the Taekwondo school in
the Philippines, RIAZON trains other Filipino nationals in
Taekwondo. Specifically, these Filipino nationals enroll in the
school where RIAZON works. RIAZON instructs the students
everyday during the morning and afternoon. After two to three
months, the students have a basic knowledge of Taekwondo. At
that point, RIAZON issues the students certificates, which

falsely state that the student has been studying Taekwondo for
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 5 of 37 Page ID #:43

one year or more.

e. The student then uses this certificate to apply
for a Visa to enter the United States to participate ina
Taekwondo tournament.

f. RIAZON then assists the students with their Visa
applications. Based on her own experience and experiences of
other students, RIAZON provides students with a list of questions
that Consular officials at the United States Embassy will ask
during the Visa application process (e.g. What is the purpose of
the trip? How long do you plan to stay? Do you have relatives or
friends in the United States? What group are you traveling
with?) .

g. RIAZON then provides the students with the
appropriate answers that will ensure they receive the Visa (e.g.,
to compete in Tae Kwon Do tournaments, to stay for two weeks,
that the student had friends and relatives that are in the United
States legally, that the student is traveling with the World Tae
Kwan Do Union). RIAZON knows that these answers may not be true
for some of the students.

h. RIAZON admitted that she knows that students are
participating in the training in order to be able to enter the
United States. RIAZON does not know how much Demafeliz is paid
for the role that he and RIAZON play in the scheme, nor does she

know how individuals know to come to Demafeliz for this service.
. Case 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 6 of 37 Page ID #:44

i. For the most recent trip to the United States,
RIAZON traveled with Demafeliz and two other female teammates for
a Taekwondo tournament in Fresno, California and a visit to Las
vegas, Nevada. RIAZON was the only person to compete in the
tournament. The two female teammates who were supposedly
scheduled to participate in the tournament, did not do so.
CONCLUSION

Based on the facts contained in this affidavit and my
experience and training, I believe there is probable cause to
believe that ROLLETA EBROLE RIAZON conspired to bring, transport,
and harbor, conceal, and shield from detection illegal aliens in

violation of 8 U.S.C. § 1324 (a) (1) (A) (v) (I).

Sworn and subscribed to before me
This 4th day of APRIL 2008
J wl)
TRICIA WHITEHILL
Special Agent, FBI
Sworn and subscribed to before me
This 4th day of APRIL 2008

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United States Magistrate Judge
 

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UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA DOCKET NO.
v.

 

 
 
    
 

 

 

 

 

 

 

 

 

 

 

 

 

EVELYN PELAYO and MAGISTRATE'S cass 98 ~ 0 8 i 6 M
RUDOLFO EDROLE DEMAFELIZ, JR. a
APR ~ 2 2008
Complaint for violation of Title 8, Section 1324 (a) (1) (A) (iii), (Alien Harb pring) Sint Sf CALIFORNIA
\ DEPUTY
NAME OF MAGISTRATE JUDGE UNITED ST. ATES LOCATION
MAGISTRATE JUDGE
Los Angeles, CA
DATE OF OFFENSE ~ PLACE OF OFFENSE ADDRESS OF ACCUSED (IF KNOWN)
JUNE 2005 -
MARCH 2008 LOS ANGELES County

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

On or about June 2005 to March 2008, in Los Angeles County, within the
Central District of California, defendants Evelyn Pelayo and Rudolfo Ebrole
Demafeliz, Jr., knowing and in reckless disregard of the fact that aliens and
others had come to, entered, and remained in the United States in violation
of law, knowingly concealed, harbored, and shielded those aliens from
detection by immigration authorities within the United States, in furtheranc

of such violation of law.

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
(See attached affidavit which is incorporated as part of this Complaint)

 

MATERIAL WITNESSES IN RELATION TO THIS CHARGE:

Being duly sworn, I declare that the SIGNATURE OF ,COMPLAINAN
foregoing is true and correct to the : ~
best of my knowledge. AY

OFFICIAL TITLE

SPECIAL AGENT TRICIA WHITEHILL, FBI

 

 

 

 

Sworn to before me and subscribed ‘in my presence,

 

DATE

SIGNATURE Catan wv (1) Ce
WY. CG ai. L¢ April 2, 2008

1) See Federal Rules of Criminal Procedure rules 3 and 54.

[Initials cum: eb yf" REC: | EXHIBIT A

 

 

 

 
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Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 8 of 37 Page ID #:46

Affidavit of Tricia Whitehill
I, Tricia Whitehill, being duly sworn, do hereby depose and
Say:
1. I am a Special Agent ("SA")with the Federal Bureau of
Investigation ("FBI"). I have been employed as a SA with the FBI

since November of 2005... Currently, I am assigned to the Los

“Angeles Field Office, Civil Rights Squad. In that capacity, I am

responsible for investigating the human trafficking of people
into the United States. The statements set forth in this
affidavit are based upon my experience, training, consultation

with experienced investigators and agents and other reliable

- sources of information relevant to this investigation.

2.. This affidavit is made in support of a criminal
complaint and arrest warrant for EVELYN PELAYO (“PELAYO”) and
RUDOLFO EBROLE DEMAFELIZ JR a/k/a DUDEN (“DEMAFELI2" ) for
violation of Title 8, United States Code, Section 1324 (a) (1)
(A) (iii), (Alien Harboring): knowingly and intentionally
concealing, harboring and shielding illegal aliens in the United
States.

3. This affidavit is also made in support of search
warrants for the following locations (collectively referred to as
the "SUBJECT LOCATIONS") :

a. 5571 EAST VERNON STREET, LONG BEACH, CALIFORNIA

("PELAYO RESIDENCE"), for evidence of violations of
c

Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 9 of 37 Page ID #:47

Title 8, Section 1324 (a) (1) (A) (i131), (Alien
Harboring) and Title 18. |

b. 5561 EAST VERNON STREET, LONG BEACH, CALIFORNIA
("VERNON HOUSE"), for evidence of violations Title
8, Section 1324 (a) (1) (A) (i131).

c. 5651 EAST WALTON STREET, LONG BEACH, CALIFORNIA

("WALTON HOUSE"), for evidence of violations Title
8, Section 1324 (a) (1) (A) (i113).

4. The facts and information set forth in this
affidavit are based upon a joint investigation conducted by
the FBI and Immigration and Customs Enforcement (ICE). I know
the information contained in this affidavit through my
personal observations, records checks, information received
from other law enforcement personnel, informants, and -
surveillance. Furthermore, the statements in this affidavit
are based upon my training and experience as an FBI agent with
that of other FBI agents and law enforcement with whom I have
discussed this matter.

5. This affidavit is intended to show that there is
sufficient probable cause for the arrest of PELAYO and
DEMAFELIZ and the search of the SUBJECT LOCATIONS and does not
purport to set forth all of my knowledge of our investigation

into this matter.

6. The premises to be searched are described as
» Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 10 of 37 Page ID #:48

follows:

a.

The subject premises located at 5571 EAST VERNON

STREET, LONG BEACH, CALIFORNIA ("PELAYO RESIDENCE"),

isa two-story single family home: The residence

sits on the north side of East Vernon Street between

Marber Avenue and Chatwin Avenue. The residence is

clearly marked with the number "5571" in black
numbers on a white background located on the front
of the residence, between the front entrance door
and garage door. The building is light tan colored
stucco, with white trim and light tan wood siding on,
the second story above the white two-car garage
door. The white two-car garage door is located on
the front (southwest) side of the residence facing
East Vernon Street. Above the front entrance is a
maroon canvas awning. The front entrance is two
doors wide and dark wood colored. There is a four-
foot grey iron gate and a four-foot grey iron fence
that extends across the front of the residence from
the east side of the garage to the southeast corner
of the residence. The PELAYO RESIDENCE is the
residence of the SUBJECT, EVEYLYN PELAYO, and her
husband, Darwin Padolina, their two adult children,

and their one minor child.
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 11 of 37 Page ID #49

b. The subject premises located at 5561 EAST VERNON
STREET, LONG BEACH, CALIFORNIA ("VERNON HOUSE") is a
single-family, one-story home. The home is located
on the north side of East Vernon Street, between the
corner of Marber Avenue and Chatwin Avenue, directly
west and next-door to the PELAYO RESIDENCE. The
building is peach-colored stucco, with a brown
shingle roof, and a white two-car garage door
located on the front (southwest) side of the
residence facing East Vernon Street. The VERNON
HOUSE is an elderly care home that is owned by the
EVELYN PELAYO and her husband, Darwin Padolina.

c. The subject premises located at 5651 EAST WALTON
STREET, LONG BEACH, CALIFORNIA ("WALTON HOUSE") is a
single-family, one-story home. The home is located
on the southwest corner of East Walton Street and
Radnor Avenue. The residence is clearly marked with
white numbers on a plack background located on the
southwest corner of the residence, to the right
(east) of the front entrance. The building is light
tan colored stucco with white trim and an
orange/brown shingle roof. “The front entrance is
covered by a white metal security door and is

located on the southwest corner of the residence,
- Case 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 12 of 37 Page ID #:50

7.

facing west. Red brick surrounds the front entrance
door and a red-brick chimney is located on the west
side of the residence. | There is a four-foot, white
metal fence with concrete block pillars, surrounding
the residence. The WALTON HOUSE is an elderly care
home that is owned by the SUBJECT, EVELYN PELAYO,
and her husband, Darwin Padolina.

ITEMS TO BE SEIZED

The items to be seized from the SUBJECT LOCATIONS

.are follows:

a.

Documents pertaining to the time period of on or
about July 2005 through the present, that relate to
smuggling fees owed or paid by or on behalf of
illegal aliens. "Documents" in this context
includes, original books of entry, general journal
ledgers, cash receipts, credit card receipts, cash
receipt notes.

Identification documents and copies of
identification documents including drivers'
licenses, social security cards, passports, resident
alien cards, employment authorization cards, and
foreign identification cards, pertaining to CS2 or
CS3. |

Travel receipts, tickets, and vouchers, pertaining
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 13 of 37 Page ID #:51

to the time period of on or about July 2005 through
the present.

d. Letters, postcards, audiocassette tapes, and other
correspondence containing communications by or to
the subjects and/or smuggled aliens, pertaining to
the time period of on or about July 2005 through the
present.

e.: Documents pertaining to the time period of on or
about July 2005 through the present, relating to any
contracts or employment records concerning illegal
aliens who were smuggled into the United States and
harbored by defendants or their associates.

f. Women’s jewelry. Personal items and effects, travel
bags, duffel bags, suitcases, and other items used
to carry personal property such as clothes,
belonging to smuggled aliens.

g. Bank statements, checks, deposit tickets, check
registers, credit card receipts, invoices, money
orders, travelers checks, and cashier checks,
pertaining to the time period of on or about July
2005 continuing through the present, that show
receipt or distribution of profits from smuggling,
and harboring activities.

h. Documents, statements, and keys relating to any bank
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 14 of 37 Page ID #:52

safe deposit box or storage unit, pertaining to the
time period of on or about July 2005 continuing
through the present.

i. Address books, telephone notes, appointment books
and calendars, pertaining to the time period of on
or about July 2005 continuing through the present.

j- Lists of aliens smuggled into the United States.

k. Travel documents, including those in the form of
passports or identity documents,. pertaining to the
time period of on or about July 2005 continuing
through the present.

1. ‘Money grams, checks, money transfer records, money
orders, or other forms of payment relating to
harboring, smuggling and the elder-care business
operations, pertaining to the time period of on or
about July 2005 continuing through the present.

m. Any documentation tending to prove who owns or is in
control of the SUBJECT LOCATIONS, such as mail,
phone bills, and other utility bills and receipts,
loan documents, records of ownership, leases and
bill paying records, pertaining to the time period
of on or about July 2005 continuing through the
present.

n. United States currency in any amount over $500.
Case 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 15 of 37 Page ID #53

oO. Any photographs, videotapes and/or audiotapes
depicting smuggled aliens, pertaining to the time
period of on or about July 2005 continuing through
‘the present.

p.- Payment records, ledgers and tally sheets reflecting
harboring and/or smuggling activities, pertaining to
the time period of on or about July 2005 continuing
through the present.

q. Cellular and other mobile telephones, personal data
assistants, and electronic pager devices, pertaining
to the time period of on or about July 2005
continuing through the present.

Yr. All photographs, videotapes, or other visual media
-and CDs, pertaining to the time period of on or
about July 2005 continuing through the present, that
‘relate to fruits, instrumentalities and evidence of
violations of federal laws, specifically evidence,
fruits, and instrumentalities of the violations
Title 8, Section 1324 (a) (1) (A) (411), (Alien
Harboring) . |

BACKGROUND ON HUMAN TRAFFICKING |
8. Based on my training and experience as a Special

Agent with the FBI, I am aware that human trafficking

operations typically operate as follows:
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Case 2:°08-cr-00458-GAF Document1 Filed 04/04/08 Page 16 of 37 Page ID #:54

Victims are smuggled into the United States for
purposes of involuntary servitude. These victims
are smuggled by “traffickers” who reside in and
outside the United States. For the purposes of this
affidavit, the term "trafficker" includes, but is

not limited to, alien smugglers, human traffickers

and any of their agents, brokers, employees and/or

agents.

These victims are initially lured into the United
States by false promises of favorable job conditions
and relatively high wages. The victims do’ not have
the money required to travel into the United States
so they agree to be smuggled into the United States
for a fee. The traffickers use a network of co-
conspirators to arrange for the international

transport of these victims.

“after the victims arrive in the United States the

traffickers instruct them to work extremely long
hours with very few breaks or days off, so that the
victims can quickly repay the smuggling debt. The
traffickers will often house the victims at their
residences in order to keep a close watch over them.
Traffickers also often create a climate of fear in

order to coerce their victims to continue to work
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 17 of 37 Page ID#:55

and to help the traffickers avoid detection from law
enforcement. Tactics to that end include instilling
fear of law enforcement and especially immigration
authorities, isolating victims from sources of aid
by insisting that outsiders will report illegal
aliens to law enforcement, and engendering mutual
mistrust among the victims. These threats are
typically unrelated to a good faith effort to report
illegal activities, as evidenced by the fact that
the traffickers’ only report or threaten to report
their victims if they refuse to work.

e. Traffickers also usually maintain records of
trafficking debts that are often recorded in books,
notes, ledgers, pay/owe sheets, and I0Us. They also
typically maintain large sums of cash, bank account
records and records of money wires (international
and domestic) ._ Often such documentary evidence is
written in coded manner to hide the illegal
activity, and the traffickers often maintain these
records in the form of hand-written notes. The
funds often are or .contain the proceeds of the
trafficking activity including, but not limited to,
debt payments. Traffickers often keep these records

for an extended period of time, and these records

10
Case 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 18 of 37 Page ID #56

document business profits and expenses. Traffickers
are also known to maintain travel itineraries that
relate to illegal activities including records of
trips taken to recruit and obtain victims and to
transport funds and documents to various locations.
£. It is routine for traffickers to hide the proceeds
of their illegal activity in secure locations within
their homes, apartments, businesses, storage
facilities, safe deposit boxes and vehicles. The
documents mentioned in the aforementioned paragraph
are commonly maintained in these locations. These
records are routinely maintained for extended
periods. This is especially true when employment
relationships related to illegal trafficking
activities extend over a long period of time.

g. Traffickers routinely maintain assets associated
with their criminal activity such as vehicles,
mobile telephones, bank accounts and real estate
holdings under fictitious names or under the names
of other persons (nominee subscribers) such as
relatives and/or associates to avoid detection by
law enforcement. Despite the use of fictitious
names, traffickers maintain control over these

hidden assets. Additionally, traffickers often make

11
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 19 of 37 Page ID #:57

travel arrangements under fictitious names or under
the names of other persons, as described above, to
avoid detection by law enforcement.

h. traffickers maintain address and/or telephone books
listing names and/or clients of those involved in
their criminal activity. Often these names,
addresses or telephone numbers will be in code.

i. Traffickers, like many people, frequently take, or
cause to be taken, photographs of their residences,
their property, and their victims that they smuggle.
Traffickers maintain these photographs in their
homes, businesses, storage lockers, safety deposit
boxes and automobiles. These photographs will often
show traffickers and the trafficked victims.
together.

j.. Traffickers are known to use mobile telephones and
personal data assistants to communicate with their
customers as well as co-conspirators. These
communication devices have memory storage
capabilities, including the storage of return
telephone numbers and addresses which often belong
to co-conspirators involved in the human
trafficking, harboring, importation, and

transportation of aliens.

12
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 20 of 37 Page ID #:58

k. As a matter of routine, traffickers maintain
documents and/or indicia, which is evidence of their
occupancy or ownership of their residential and/or

business premises. The documents. and indicia are
commonly found on their person and in their
residence. Such documents include, but are not
Limited to nominee banking records, foreign bank
records, utility bills, rent receipts, pager/mobile
telephone receipts, rental/lease agreements, payment
receipts, personal mail and other correspondence
addressed to persons at the residence.

1. Traffickers often maintain custody of documents
belonging to the victims, including identification
documents, passports and other travel-related
documentation to prevent the victims from leaving on
‘their own initiative. These documents are typically
held in homes, businesses and/or safety deposit
boxes. |

m. The trafficking victims often maintain personal
letters and handwritten notes at the locations where
they live and work, which are indicia. of where they
reside and what activities they are engaged in and
with whom. For example, some trafficking victims

maintain their own records of debt payments, so that

13
,* Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 21 0f 37 Page ID #:59

9.

they can reconcile them with their trafficker’s
records.

Traffickers often maintain items associated with
their business off-site so the items will not be
discovered during a raid by law enforcement or

inspection by regulatory officials. Such items

include, but are not limited to, pay/owe sheets,

laundry receipts, toiletries, tally sheets,
handwritten documents, such as receipts, bills and
cancelled checks paid to other persons.

FACTS ESTABLISHING PROBABLE CAUSE

On September 13, 2007, a Confidential Source (CS1),

a neighbor who lives near the VERNON HOUSE and the PELAYO

RESIDENCE, reported to FBI SA Tricia Whitehill that PELAYO

runs an elder care facility at the VERNON HOUSE and that the

Filipino workers who live and work at the VERNON HOUSE are

kept in the house. CS1 provided the following additional

information:

a.

PELAYO owns two private residences in Long Beach,
California that are used as elder care facilities.
Four Filipino people seem to work nearly 24 hours
per day, seven days per week, caring for

approximately five or six elders at VERNON HOUSE.

Filipino workers also work for PELAYO at a separate

14
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 22 of 37 Page ID #60

property located at 5651 Walton Street (the WALTON
HOUSE) .

d. csi used to see one of the workers cS2 in the yard
at the VERNON HOUSE. C$1 used to see CS2 walking
the elders in front of the house. onetime CS2 asked
CcS1 for his help.

e. CS2 told CS1 that she owes PELAYO a smuggling debt
and that she can not leave the VERNON HOUSE because
she is afraid that the police will find her and
deport her.

£. CS1 had not recently seen the Filipino workers in
the yard and stated that it seemed to him that they
were no longer allowed to leave the house.

10. On October 6, 2007, FBI SA Tricia Whitehill and ICE

SA Miguel Palomino interviewed a Confidential Source ("CcS2").
CS2 was interviewed again on October 26, 2007 by SA Whitehill,
on November. 20, 2007, by SA Whitehill and SA Megan R. Tuggle
of the FBI. CS2 was also interviewed on January 5, 2008 by SA
Whitehill and SA Palomino, and again on February 2, 2008 by SA
Whitehill and ICE SAs Palomino and Oliver Ramelb. CS2 told
agents the following: |

a. CS2, a Philippines national, was living ina small
province in the Philippines when she was contacted

by PELAYO regarding work in the United States on or

15
» Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 23 of 37 Page ID #:61

about July 2005. CS2 accepted PELAYO'S offer of
employment providing nursing care services for
elderly clients in a nursing home owned by PELAYO in
the United States.

b. PELAYO had multiple telephone conversations with CS2
whereby PELAYO instructed CS2 regarding the
arrangements to have Cs2 smuggled into the United
States.

Cc. PELAYO told CS2 to contact a man named RUDOLFO
EBROLE DEMAFELIZ JR a/k/a DUDEN (*DEMAFELIZ”) .
DEMAFELIZ is a Philippines citizen and a Taekwondo
instructor living in Manila. PELAYO instructed that
DEMAFELIZ would train CS2 in Taekwondo and that CS2
would obtain a visa to travel to the U.S. to
participate ina Taekwondo tournament.

d. PELAYO did not indicate how much money it would cost
for the smuggling fee nor did PELAYO state how much
cs2 would be paid to work at PELAYO's facility.

e. cs2 contacted DEMAFELIZ. DEMAFELIZ instructed CS2
to fly to Manila where she would live with and train
under DEMAFELIZ as a Taekwondo student.

f. During the months of August and September 2005, CS2
lived in an apartment rented by DEMAFELIZ and

trained everyday in Taekwondo. DEMAFELIZ paid all

16
Case 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 24 of 37 Page ID #:62

CS2's expenses.

g. DEMAFELIZ took CS2 to the embassy in Manila to
obtain a tourist visa. DEMAFELIZ provided CS2 with
a written questionnaire which provided all the
likely questions CS2 would be asked by embassy
officials. The questionnaire also provided
corresponding answers that CS2 should provide.

h. Fifteen people, including CcS2, went with DEMAFELIZ
to the embassy to obtain tourist visas. Five of the
fifteen applicants obtained tourist visas to enter
the United States by falsely stating that the
purpose of their travel was to participate in a
Taekwando tournament.

i. CS2 was granted a tourist visa and flew with
DEMAFELIZ and others in October of 2005.

j. When CS2 arrived in Los Angeles, California,
DEMAFELIZ took her passport and told CS2 he would
hold it for safekeeping. | |

k. DEMAFELIZ and CS2 stayed with DEMAFELIZ's sister in
Glendale, California for approximately one week.

1. In response to CS2's comment that she was eager to
get to work, DEMAFELIZ told CS2 that she should not
be in such a rush because she was going to be a

“prisoner” once she began working for PELAYO.

17 i
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 25 of 37 Page ID #:63

m. After one week in the U.S., DEMAFELIZ delivered CS2
to PELAYO in Carson, California. DEMAFELIZ and
PELAYO spoke in private for approximately thirty
“minutes before PELAYO drove CS2 in her car to Long
Beach, California.

Oo. _En route from Carson to Long Beach, PELAYO gave CS2
strict instructions regarding the terms of her work
and living situation. PELAYO told CS2 that she
could not trust anyone. She elaborated that CS2
should not speak to the family members of the elders
and to avoid any personal conversations with her co-
workers.

p. PELAYO also told CS2 that for 10 years CS2 could
never go to work for anyone else.

q. PELAYO told CS2 that she would earn $600/month, but
that she would have to repay PELAYO $12,000 (USD)
for her smuggling debt. As a result, PELAYO would
hold back $200 of her $600 salary. |

Yr. Immediately upon CS2's arrival, PELAYO also warned
cS2 that there would be severe consequences if she
ever tried to stop working for her by running away.

s. PELAYO threatened CS2 that she would falsely accuse
CS2 of stealing property from PELAYO if CS2 ever

tried to run away. PELAYO emphasized that the police

18
Case 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 26 of 37 Page ID #:64
would put CS2 in jail if this happened. PELAYO
repeated this threat to CS2 many times during the
period that CS2 worked for PELAYO.

tC. PELAYO also threatened CS2 that she would call the
police to report CS2 as an illegal worker if CS2
tried to run away. PELAYO warned CS2 that if that
happened, the police would call immigration
authorities who would in turn track down CS2, put
CS2 in jail for a long time, and then deport her.

u. PELAYO warned CS2 that she would deny ever knowing
her if the police caught CS2 and figured out that
she was illegally residing and working in the
country.

Vv. PELAYO warned CS2 that any attempts to report PELAYO
to authorties would be futile because the police
would believe PELAYO and not CS2, because PELAYO is
a United States citizen and CS2 is not.

Ww. CS2 stated that she believed these threats and was
afraid of PELAYO. |

Xx. CS2 reported that PELAYO keeps employee files and

| records for all of her workers. PELAYO told CS2 that
she keeps specific track of the balances on debts
owed by the workers in a book. CS2 reported that

PELAYO keeps the passports of the Filipino workers,

19
Case. 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 27 of 37 Page ID #:65

aa.

along with all other papers relating to her business
in the master bedroom of the PELAYO RESIDENCE.

CS2 reported information related to his/her working
conditions for the two years that CS2 worked for
PELAYO. CS2 stated that she worked nearly 24 hours
per day and usually only took off two days per
month. CS2 did not have any days off between April
and July of 2007. Her daily chores included
preparing meals, bathing and caring for the elders.
CS2 stated that she generally felt like a prisoner.
CS2 stated that she had very little freedom of
movement. CS2 stated that she earned very little
money especially after PELAYO deducted a payment for
her smuggling debt. PELAYO also regularly expressed
hostility towards CS2, complaining that CS2 was not
working hard enough. PELAYO would also verbally
abuse CS2, calling her a "mother fucker" and a
"stupid shit."

CS2 reported that PELAYO withheld CS2's passport
documents. On several occasions CS2 asked PELAYO
for CS2's passport back but PELAYO refused. On
February 28, 2008, PELAYO told CS2 that she had sent

CS2's passport to DEMAFELIZ in the Philippines. CS2

believes that PELAYO was lying about sending his/her

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Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 28 of 37 Page ID #:66

bb.

cc.

dd.

11.

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passport to DEMAFELIZ because one of CS2's co-
workers told CS2 that she had seen the passport ina
drawer inside PELAYO's bedroom closet.

cs2 provided information about PELAYO’S deliberate
and knowing fraudulent activities in connection with
the elder care business.

PELAYO instructed CS2 and the other staff members at
her elder care facilities to lie to investigators
and other DSS representatives who regularly visited
the facilities. Specificlaly, PELAYO told CS2 to
falsely tell officials that CS2 only worked eight
hours a day and that workers were not allowed to
live and sleep in the same home as the elders.

CS2 and the other workers followed these
instructions to lie to DSS regarding the number of
hours they worked everyday and they also falsely
told DSS investigators that they did not sleep at
the facilities, when in fact they aid.

On February 2, 2008, while still working for PELAYO,

CS2 was provided a recording device and a transmitter by FBI

SA Tricia Whitehill and ICE SAs Miguel Palomino and Oliver

Ramelb. —

CS2 approached PELAYO in order to discuss the amount

of his/her smuggling debt, the payments made to date by CS2

against that debt, and the whereabouts of CS2's passport.

21 |
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 29 of 37 Page ID #:67

During that conversation the following statements were made by

PELAYO:

a.

b.

CS2 owed PELAYO a $12,000 debt.

cs2 would be finished paying the debt owed to PELAYO
in one year and four months.

PELAYO used her own money to bring CS2 into the
United States.

PELAYO did not charge cs2 interest on the $12,000
debt owed by CS2.

PELAYO had CS2's passport.

PELAYO sent cs2's passport to DEMAFELIZ in the
Philippines. |

PELAYO told cs2 "You cannot leave me, After 10 years
maybe you can go home. I don't want you to stab me
in the back."

PELAYO told C$2 that after working for PELAYO for
ten years he/she would have to return to the
Philippines and that he/she could not work for
anyone else in the U.S. other than PELAYO.

PELAYO told CS2 that "In business you have to cheat.
If you follow the rules here you will suffer. You
will never make money. That's why you have to break
all the rules regarding insurance, payroll...

Everyone that works for me does not have their

22 - -
Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 30 of 37 Page ID #:68

papers."

12. %In May of 2007, another Filipino national named CS3
came to work at the VERNON HOUSE. CS3 worked during the day
as a construction worker at the VERNON HOUSE and provided care
to elderly clients at the VERNON HOUSE at night.

13. Like CS2, PELAYO recruited CS3 in the Philippines to
work at one of her elder care facilities. PELAYO and
DEMAFELIZ arranged for CS3 to illegally enter the United
States, using the ruse that Cs3 was entering the United States
to participate ina Taekwondo competition.

14. On January 4, 2008, FBI SAs Tricia Whitehill,
Michael Paysan, and ICE SA Miguel Palomino interviewed CS3.
CS3 told agents the following information:

a.  CS3 came to the United States in May of 2007 and has

worked for PELAYO ever since. He/she works as an
elder care giver at the VERNON HOUSE: Prior to
coming to the United States, CS3 worked as a
construction worker in the Philippines. cS3 had
helped to build a home for PELAYO in the
Philippines, which is how he/she came to know her.
be In early 2007, PELAYO called CS3's uncle and asked
him-if he knew anyone that would be interested in
coming to work for her in the United States.. PELAYO

told CS3's uncle that the worker would make

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Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 31 0f 37 Page ID #:69

$600/month, minus $300/month for the smuggling fee.
While still in the Philippines, CS3 spoke to PELAYO
over the telephone. PELAYO told CS3 that CS3 would
be working as an elder care giver. CS3 accepted
PELAYO's employment offer. Cs3 and PELAYO never

spoke about what hours he/she would be working,

however CS3 believed that he/she would have time to

work at a second job while working for PELAYO in the
U.S.

CS3 trained in Taekwondo by DEMAFELIZ and obtained a
tourist visa. |

In May 2007, CS3 traveled to the United States from
the Philippines with DEMAFELI4 and five other
Filipinos. |

When Cs3 arrived in the U.S., PELAYO took CS3's
passport. PELAYO still possesses CS3'S passport.
PELAYO told cs3 that he owes her a $12,000 smuggling
debt.

PELAYO told CcS3 that CS3 could not work for anyone
else and that CS3 would have to work for PELAYO for
at least 10 years.

While employed by PELAYO, Cs3 worked nearly 24 hours
each day. CS3 worked on a construction project for

PELAYO at the VERNON HOUSE during the daytime and

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Case 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 32 of 37 Page ID #:70

provided elder care services at night. He/she had
to get up to care of the elderly clients several
times each night. As a result, he/she did not sleep
very much or at regular times. When he/she did
sleep, he/she slept ona sofa in the kitchen of the
VERNON HOUSE.

j- Cs3 stated that he/she did not have freedom of
movement . cs3 required permission to run personal
errands. CS3 is afraid of PELAYO.

k. PELAYO warned cg3 that he should be afraid of the

police. Specifically, she stated that CS3 would be
in trouble if the police ever picked him/her up
because he did not have papers legally permitting
him to be in the country. PELAYO told cs3 that
immigration officials would be called and that CS3
would be taken to jail. PELAYO also told CS3 not to
be out when it was dark because the police would
catch him/her and pick him/her up. PELAYO further
warned CS3 that she would not help him/her 1£ the
police found him/her.

1. As she instructed CS2, PELAYO instructed CS3 to lie
to DSS$ officials regarding the number of hours that

Cs3 worked everyday and not to tell DSS officials

that he/she slept at the VERNON HOUSE.

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Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 33 of 37 Page ID#:71

15.

On February 19, 2008, CS3 escaped from PELAYO.
Immediately after CS3 escaped, federal agents
conducting surveillance at the VERNON HOUSE and
SUBJECT PREMISES observed PELAYO and her husband,
Darwin Padolina, exit the PELAYO RESIDENCE, enter
separate vehicles and begin to search for CS3.
PELAYO has recruited CS3'S cousin in the Philippines
to work for her in the U.S. cs3's cousin has been
training with DEMAFELIZ and has made multiple
unsuccessful efforts to obtain her tourist. visa.

On the evening of February 19, 2008, the night of.

CS3's escape, CS2 was provided with a recording device and

transmitter by SA Whitehill and ICE SA Ramelb, whereby the

a.

-following admissions were made by PELAYO:

PELAYO stated that she drove around looking for CS3
put could not find him/her anywhere. |

PELAYO told C82 that she would call the police and
have CS3 arrested.

PELAYO told CS3 that she was going to call the
police and tell them that CS2 stole something from
her.

PFLAYO threatened CS2 that there was a record when
cs2 and CS3 came to the U.S. and that PELAYO could

easily put CS2 and CS3 in the "blotter" [slang for

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Case 2:08-cr-00458-GAF Document1 Filed 04/04/08 Page 340f 37 Page ID#:72

reporting to the police].

e. PELAYO told CS2 that she was going to call the

police and have cs3 deported.

£. PELAYO admitted that CS3 left without paying the

debt CS3 owed to her.

16. CS2 reported that after CS1 escaped, PELAYO took
jewelry and CS3's passport from the PELAYO RESIDENCE and gave
them to a worker that she apparently trusted in the VERNON
HOUSE for that worker to hide. CS2 took pictures of the
jewelry and passport with her camera phone.

17. After cs3 escaped, PELAYO told CS2 chat she filed a
report with the police indicating that CS3 had stolen jewelry
from her before he/she escaped. Subsequent investigation
confirmed that PELAYO did in fact file police report on
February 20, 2008, stating that CS3 had run away and that $700
and some jewelry was missing. The report notes that PELAYO
told the officers that CS3 had been living with her family,
and that she found the property missing the same day he/she
had run away. The report explicitly states that “Pelayo
believes that he [CS3] took her property.” CS2 reports that
she observed PELAYO searching for a picture of CS3 to give to.
the police when she filed the report.

“4g. On February 22, 2008, Cs3 was provided with a

recording device and placed a telephone call to PELAYO. The

27 .
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following admissions were made by PELAYO during that
conversation:

a. PELAYO stated that CS3 originally owed her $12,000
for a smuggling fee to enter the U.S. from the
Philippines. In the course of the conversation,

- PELAYO acknowledged that CS3 had paid $1800 to
PELAYO and noted that he still owed her $10,200.

b. PELAYO stated that she reported CS3 to the police
after he escaped from her, and that her report
included a claim that CS$3 had stolen her property.

Cc. PELAYO told C$3 that she reported to police that CS3
had stolen property from her, stating that “it is
just like you stole from me, because...you ran away,
you didn’t say goodbye. You know that you have a
debt, you ran away.”

d. PELAYO offered to withdraw her police report if CS3
paid her the debt that CS3 owed her.

19. Further investigation of airline travel records

' ghows that between the year 2000 and the present, DEMAFELIZ
has made approximately twenty round trip journeys between the
Philippines and the United States. Since 2005, twenty-four
(24) Philippines nationals who entered the United States with
DEMAFELIZ on those trips have never exited the United States,

according to those airline records.

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CONCLUSION
Based on the facts contained in this affidavit and my
experience and training, I believe there is probable cause to
believe that EVELYN PELAYO and RUDOLFO EBROLE DEMAFELIZ oR
a/k/a DUDEN have violated Title 8, United States Code, Section

1324 (a) (1) (A) (iii) and that the SUBJECT. LOCATIONS contain

evidence of those crimes.

r~ |
TRICIA WHITEHILL
Special Agent, FBI

 

Sworn and subscribed to
before me this day
of April 2008

(tam. Lud De
Hon. Caria M. Woehrle
United States Magistrate Judge

29 i
Case 2:08-cr-00458-GAF Document 1 Filed 04/04/08 Page 37 of 37 Page ID #:75

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08 08 24M FINDING RE PROBABLE CAUSE

  
 
 
 

 

On _April 4, 2008, at , Agent_Tricia Whilte 11APR - 4
(date) {time}

 

 

of the Federal Bureau of Investigation appeared befo je ge Pega TENA «

lagency}

probable cause arrest of defendant —~ ROLLETA EBROLE RIAZON

(Name of Defendant (8)

occurring at_April 3, 2008, at 9:00 a.m. approximately , at Los Angeles

 

(date and time] [place]
Having reviewed the agent’s statement of probable cause, a copy of
which is attached hereto, the Court finds that there (existg/does not exist

probable cause to arrest the defendant(s) for a violation of

  
 
 

 

Qnz
/ Bre is srdBAsn that defendant (s) ROLLETA EBROLE RIAZON
& sae [name (s) ]

be held to dog fox | Proceedings under Federal Rule of Criminal

Procedure 5/40 on \ OS |

{date]

/ / It is ordered that defendant (s)

 

{name (s)]

be dig@harged from custody on this charge forthwith.

— Veal Y , 2008 at B00 fm
On tyr Lot

HONORABLE CARLA M. WOEHRLE
UNITED STATES MAGISTRATE JUDGE

 
